
CaRuthbes, J.,
dissented.
I agree, that since the act of 1827, the title to slaves goes to the distributees, and not to the administrator, as in case of other personal property, except in trust for the benefit of creditors and for distribution. But I *472hold, that when it becomes necessary to sell them for the payment of debts, or for equal distribution, the act only requires that he should satisfy the court of that by his “petition on oath” and proof, without the necessity of other parties. This act does not require, as in the case of lands, by an act of the same session, that the proceeding should be according to the course of a court of chancery. It was only intended, as I think, to aid him, as a trustee, in the performance of his duty, by the simple and easy proceeding prescribed. Such seems to me to be the plain provisions of the act, and I think it is unnecessary to complicate it by the addition of other requirements to make such sales void.
